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8
                          UNITED STATES DISTRICT COURT
9                        NORTHERN DISTRICT OF CALIFORNIA
10
11   Orlando Garcia,                          Case No.

12              Plaintiff,
                                              Complaint For Damages And
13      v.                                    Injunctive Relief For Violations
                                              Of: Americans With Disabilities
14   Kueui Chang Yeh;                         Act; Unruh Civil Rights Act
     Hsing-Jung Lee;
15   Y & L Auto Corporation, a
16   California Corporation

17              Defendants.
18
19           Plaintiff Orlando Garcia complains of Kueui Chang Yeh; Hsing-Jung
20   Lee; Y & L Auto Corporation, a California Corporation; and alleges as
21   follows:
22
23
       PARTIES:
24
       1. Plaintiff is a California resident with physical disabilities. Plaintiff
25
     suffers from Cerebral Palsy. He has manual dexterity issues. He cannot walk.
26
     He uses a wheelchair for mobility.
27
       2. Defendants Kueui Chang Yeh and Hsing-Jung Lee owned the real
28
     property located at or about 2990 San Bruno Ave., San Francisco, California,

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1    in February 2022.
2      3. Defendants Kueui Chang Yeh and Hsing-Jung Lee own the real
3    property located at or about 2990 San Bruno Ave., San Francisco, California,
4    currently.
5      4. Defendant Y & L Auto Corporation owned Home Gas located at or
6    about 2990 San Bruno Ave., San Francisco, California, in February 2022.
7      5. Defendant Y & L Auto Corporation owns Home Gas (“Gas Station”)
8    located at or about 2990 San Bruno Ave., San Francisco, California,
9    currently.
10     6. Plaintiff does not know the true names of Defendants, their business
11   capacities, their ownership connection to the property and business, or their
12   relative responsibilities in causing the access violations herein complained of,
13   and alleges a joint venture and common enterprise by all such Defendants.
14   Plaintiff is informed and believes that each of the Defendants herein is
15   responsible in some capacity for the events herein alleged, or is a necessary
16   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
17   the true names, capacities, connections, and responsibilities of the
18   Defendants are ascertained.
19
20     JURISDICTION & VENUE:
21     7. The Court has subject matter jurisdiction over the action pursuant to
22   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
23   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
24     8. Pursuant to supplemental jurisdiction, an attendant and related cause
25   of action, arising from the same nucleus of operative facts and arising out of
26   the same transactions, is also brought under California’s Unruh Civil Rights
27   Act, which act expressly incorporates the Americans with Disabilities Act.
28     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is


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1    founded on the fact that the real property which is the subject of this action is
2    located in this district and that Plaintiff's cause of action arose in this district.
3
4      FACTUAL ALLEGATIONS:
5      10. Plaintiff went to the Gas Station in February 2022 with the intention to
6    avail himself of its goods or services motivated in part to determine if the
7    defendants comply with the disability access laws. Not only did Plaintiff
8    personally encounter the unlawful barriers in February 2022, but he wanted
9    to return and patronize the business two more times but was specifically
10   deterred due to his actual personal knowledge of the barriers gleaned from
11   his encounter with them.
12     11. The Gas Station is a facility open to the public, a place of public
13   accommodation, and a business establishment.
14     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
15   to provide wheelchair accessible parking in conformance with the ADA
16   Standards as it relates to wheelchair users like the plaintiff.
17     13. The Gas Station provides parking to its customers but fails to provide
18   wheelchair accessible parking in conformance with the ADA Standards.
19     14. A problem that plaintiff encountered was that there was no access aisle
20   that accompanied the ADA parking stall. What is more, there was no striping
21   whatsoever for the lone parking stall ostensibly designed for persons with
22   disabilities. There was also no ADA signage in front of the parking stall. All
23   that remained of the parking stall ostensibly reserved for persons with
24   disabilities was a faded International Symbol of Accessibility logo.
25     15. Plaintiff believes that there are other features of the parking that likely
26   fail to comply with the ADA Standards and seeks to have fully compliant
27   parking for wheelchair users.
28     16. On information and belief, the defendants currently fail to provide


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1    wheelchair accessible parking.
2      17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
3    provide wheelchair accessible paths of travel in conformance with the ADA
4    Standards as it relates to wheelchair users like the plaintiff.
5      18. The Gas Station provides paths of travel to its customers but fails to
6    provide wheelchair accessible paths of travel in conformance with the ADA
7    Standards.
8      19. One problem that plaintiff encountered was that there was an
9    unramped step leading to the Gas Station store entrance.
10     20. Plaintiff believes that there are other features of the paths of travel
11   that likely fail to comply with the ADA Standards and seeks to have fully
12   compliant paths of travel for wheelchair users.
13     21. On information and belief, the defendants currently fail to provide
14   wheelchair accessible paths of travel.
15     22. Moreover, on the date of the plaintiff’s visit, the defendants failed to
16   provide accessible door hardware in conformance with the ADA Standards as
17   it relates to users like the plaintiff.
18     23. The Gas Station provides door hardware to its customers but fails to
19   provide accessible door hardware in conformance with the ADA Standards.
20     24. The problem that plaintiff encountered was that the entrance door
21   hardware at the Gas Station store had a panel style handle that required tight
22   grasping to operate.
23     25. Plaintiff believes that there are other features of the door hardware
24   that likely fail to comply with the ADA Standards and seeks to have fully
25   compliant door hardware.
26     26. On information and belief, the defendants currently fail to provide
27   accessible door hardware.
28     27. The failure to provide accessible facilities created difficulty and


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1    discomfort for the Plaintiff.
2      28. These barriers relate to and impact the plaintiff’s disability. Plaintiff
3    personally encountered these barriers.
4      29. As a wheelchair user, the plaintiff benefits from and is entitled to use
5    wheelchair accessible facilities. By failing to provide accessible facilities, the
6    defendants denied the plaintiff full and equal access.
7      30. The defendants have failed to maintain in working and useable
8    conditions those features required to provide ready access to persons with
9    disabilities.
10     31. The barriers identified above are easily removed without much
11   difficulty or expense. They are the types of barriers identified by the
12   Department of Justice as presumably readily achievable to remove and, in
13   fact, these barriers are readily achievable to remove. Moreover, there are
14   numerous alternative accommodations that could be made to provide a
15   greater level of access if complete removal were not achievable.
16     32. Plaintiff will return to the Gas Station to avail himself of its goods or
17   services and to determine compliance with the disability access laws once it
18   is represented to him that the Gas Station and its facilities are accessible.
19   Plaintiff is currently deterred from doing so because of his knowledge of the
20   existing barriers and his uncertainty about the existence of yet other barriers
21   on the site. If the barriers are not removed, the plaintiff will face unlawful and
22   discriminatory barriers again.
23     33. Given the obvious and blatant nature of the barriers and violations
24   alleged herein, the plaintiff alleges, on information and belief, that there are
25   other violations and barriers on the site that relate to his disability. Plaintiff
26   will amend the complaint, to provide proper notice regarding the scope of
27   this lawsuit, once he conducts a site inspection. However, please be on notice
28   that the plaintiff seeks to have all barriers related to his disability remedied.


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1    See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a
2    plaintiff encounters one barrier at a site, he can sue to have all barriers that
3    relate to his disability removed regardless of whether he personally
4    encountered them).
5
6    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
7    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
8    Defendants.) (42 U.S.C. section 12101, et seq.)
9      34. Plaintiff re-pleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint.
12     35. Under the ADA, it is an act of discrimination to fail to ensure that the
13   privileges, advantages, accommodations, facilities, goods and services of any
14   place of public accommodation is offered on a full and equal basis by anyone
15   who owns, leases, or operates a place of public accommodation. See 42
16   U.S.C. § 12182(a). Discrimination is defined, inter alia, as follows:
17            a. A failure to make reasonable modifications in policies, practices,
18                or procedures, when such modifications are necessary to afford
19                goods,    services,    facilities,   privileges,   advantages,   or
20                accommodations to individuals with disabilities, unless the
21                accommodation would work a fundamental alteration of those
22                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
23            b. A failure to remove architectural barriers where such removal is
24                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
25                defined by reference to the ADA Standards.
26            c. A failure to make alterations in such a manner that, to the
27                maximum extent feasible, the altered portions of the facility are
28                readily accessible to and usable by individuals with disabilities,


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1                 including individuals who use wheelchairs or to ensure that, to
2                 the maximum extent feasible, the path of travel to the altered
3                 area and the bathrooms, telephones, and drinking fountains
4                 serving the altered area, are readily accessible to and usable by
5                 individuals with disabilities. 42 U.S.C. § 12183(a)(2).
6      36. When a business provides parking, it must provide accessible parking.
7      37. Here, accessible parking has not been provided in conformance with
8    the ADA Standards.
9      38. When a business provides paths of travel, it must provide accessible
10   paths of travel.
11     39. Here, accessible paths of travel have not been provided in
12   conformance with the ADA Standards.
13     40. When a business provides door hardware, it must provide accessible
14   door hardware.
15     41. Here, accessible door hardware has not been provided in conformance
16   with the ADA Standards.
17     42. The Safe Harbor provisions of the 2010 Standards are not applicable
18   here because the conditions challenged in this lawsuit do not comply with the
19   1991 Standards.
20     43. A public accommodation must maintain in operable working condition
21   those features of its facilities and equipment that are required to be readily
22   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
23     44. Here, the failure to ensure that the accessible facilities were available
24   and ready to be used by the plaintiff is a violation of the law.
25
26   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
27   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
28   Code § 51-53.)


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1      45. Plaintiff repleads and incorporates by reference, as if fully set forth
2    again herein, the allegations contained in all prior paragraphs of this
3    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
4    that persons with disabilities are entitled to full and equal accommodations,
5    advantages, facilities, privileges, or services in all business establishment of
6    every kind whatsoever within the jurisdiction of the State of California. Cal.
7    Civ. Code §51(b).
8      46. The Unruh Act provides that a violation of the ADA is a violation of the
9    Unruh Act. Cal. Civ. Code, § 51(f).
10     47. Defendants’ acts and omissions, as herein alleged, have violated the
11   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of,
12   Plaintiff’s rights to full and equal use of the accommodations, advantages,
13   facilities, privileges, or services offered.
14     48. Because the violation of the Unruh Civil Rights Act resulted in
15   difficulty, discomfort or embarrassment for the plaintiff, the defendants are
16   also each responsible for statutory damages, i.e., a civil penalty. (Civ. Code §
17   55.56(a)-(c).)
18
19          PRAYER:
20          Wherefore, Plaintiff prays that this Court award damages and provide
21   relief as follows:
22       1. For injunctive relief, compelling Defendants to comply with the
23   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
24   plaintiff is not invoking section 55 of the California Civil Code and is not
25   seeking injunctive relief under the Disabled Persons Act at all.
26       2. For equitable nominal damages for violation of the ADA. See
27   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8,
28   2021) and any other equitable relief the Court sees fit to grant.


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1       3. Damages under the Unruh Civil Rights Act, which provides for actual
2    damages and a statutory minimum of $4,000 for each offense.
3       4. Reasonable attorney fees, litigation expenses and costs of suit,
4    pursuant to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
5
6    Dated: March 4, 2022           CENTER FOR DISABILITY ACCESS
7
8                                   By: _______________________
9                                         Amanda Seabock, Esq.
                                          Attorney for plaintiff
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